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                                   UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                          Los Angeles DIVISION

In re: PEREZ, FRANCISCO                                 §         Case No. 2:17-bk-15409-RK
                                                        §
                                                        §
                                                        §
                     Debtor(s)


                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)
          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Wesley H. Avery,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                          United States Bankruptcy Court, Central District of California
                              Edward R. Roybal Federal Building and Courthouse
                                            255 E. Temple Street
                                           Los Angeles, CA 90012
        A hearing on the Trustee's Final Report and Applications for Compensation will be held on May 22,
2018 at 2:30 PM in Courtroom 1675 at the Edward R. Roybal Building and Courthouse located at 255 E.
Temple Street, Los Angeles, California 90012. Any person wishing to object to any fee application that has not
already been approved, or to the Trustee's Final Report, must file a written opposition thereto pursuant to Local
Bankruptcy Rule 9013-1 (f) no later than 14 days before the date designated for hearing and serve a copy of
the opposition upon the trustee, any party whose application is being challenged and the United States
Trustee. Untimely objections may be deemed waived. In the absence of a timely objection by the United States
Trustee or other party in interest, the Court may discharge the Chapter 7 Trustee and close the case without
reviewing the Final Report and Account or determining the merits of the Chapter 7 Trustee's certification that
the estate has been fully administered. See Federal Rule of Bankruptcy Procedure 5009.
Date Mailed: 04/19/2018                                     By:: /s/ Wesley H. Avery
                                                                              Chapter 7 Trustee
Wesley H. Avery
758 E. Colorado Blvd., Suite 210
Pasadena, CA 91101
(626) 395-7576




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                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                             Los Angeles DIVISION

In re:PEREZ, FRANCISCO                                      §      Case No. 2:17-bk-15409-RK
                                                            §
                                                            §
                                                            §
                         Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                  The Final Report shows receipts of :                             $                         32,380.71
                  and approved disbursements of:                                   $                            167.44
                  leaving a balance on hand of1:                                   $                         32,213.27

              Claims of secured creditors will be paid as follows:

  Claim       Claimant           Claim Asserted        Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                 32,213.27

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - Wesley H. Avery                                              3,705.87              0.00         3,705.87
  Trustee, Expenses - Wesley H. Avery                                            240.63              0.00           240.63
  Charges, U.S. Bankruptcy Court                                                 350.00              0.00           350.00
  Bond Payments - INTERNATIONAL SURETIES                                          14.03             14.03              0.00
  Attorney for Trustee Fees (Other Firm) - TIMOTHY J YOO                     15,350.00               0.00       15,350.00
  Attorney for Trustee Expenses (Other Firm) - TIMOTHY J                         480.79              0.00           480.79
  YOO
  Accountant for Trustee Fees (Other Firm) - MENCHACA &                        2,545.00              0.00         2,545.00
  COMPANY


          1
          The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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  Reason/Applicant                                                         Total            Interim      Proposed
                                                                       Requested        Payments to       Payment
                                                                                              Date
  Accountant for Trustee Expenses (Other Firm) - MENCHACA                    27.35             0.00          27.35
  & COMPANY

                  Total to be paid for chapter 7 administrative expenses:                  $              22,699.64
                  Remaining balance:                                                       $               9,513.63

             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total             Interim        Proposed
                                                                     Requested         Payments to    Payment
                                                                                       Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:              $                   0.00
                  Remaining balance:                                                       $               9,513.63

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount        Interim Payments                 Proposed
  No.                                                    of Claim                 to Date                 Payment

                                                       None

                                               Total to be paid for priority claims:       $                   0.00
                                               Remaining balance:                          $               9,513.63

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $6,603.57 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments                 Proposed
  No.                                                    of Claim                 to Date                 Payment
  1          TD Bank, USA by American                       599.49                      0.00                599.49
             InfoSource LP as agent




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  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment
  2          PYOD, LLC                                     3,170.06                   0.00               3,170.06
  3          MIDLAND FUNDING LLC                           2,289.56                   0.00               2,289.56
  4          Department Stores National                      544.46                   0.00                    544.46
             Bank

                     Total to be paid for timely general unsecured claims:               $                6,603.57
                     Remaining balance:                                                  $                2,910.06

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                     Total to be paid for tardily filed general unsecured claims:        $                    0.00
                     Remaining balance:                                                  $                2,910.06

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                                              Total to be paid for subordinated claims: $                     0.00
                                              Remaining balance:                        $                 2,910.06

              To the extent funds remain after payment in full of all allowed claims, interest will be paid at
      the legal rate of 1.07% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $88.08. The
      amounts proposed for payment to each claimant, listed above, shall be increased to include the
      applicable interest.




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           The amount of surplus returned to the debtor after payment of all claims and interest is
    $2,821.98.



                                               Prepared By: /s/ Wesley H. Avery
                                                                         Chapter 7 Trustee
    Wesley H. Avery
    758 E. Colorado Blvd., Suite 210
    Pasadena, CA 91101
    (626) 395-7576




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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